
On Motion for Rehearing
PER CURIAM.
Motion for rehearing has been filed in this case, in which counsel complains of our ruling holding that the filing in evidence on trial of a motion for a new trial, of the records in cases Nos. 7772 and 7773, 58 So.2d 561 and 562, had the effect of amending the pleadings, and contending that after judgment sustaining exception of no cause of action it is not possible to amend a petition for any cause. The trend of present day jurisprudence is to allow more latitude in the amendment of pleadings, and to allow litigants an opportunity to have their causes heard on the merits. See Reagor v. First National Life Insurance Company, 212 La. 789, 33 So.2d 521, and cases cited, and Lemoine v. Lacour, 213 La. 109, 34 So.2d 392.
The application is correct in stating that the affidavit was offered in evidence in only one case, however, plaintiffs offered the record in both cases in evidence in both cases, our Nos. 7774, 59 So.2d 246, and 7775. The minutes of the District Court, March 19, 1951, recite that the two cases, our Nos. 7772 and 7773 were consolidated for trial, however, this is unimportant.
With this explanation, the motion for a rehearing is denied.
